Case 5:16-cv-00554-HE Document 15 Filed 08/24/16 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF OKLAHOMA

l. AMY DAVIS, )
)
Plaintiff, )

) Case No. 16-CIV-5 54-HE
vs. )
)
)
1. AMERICAN FAMILY LIFE )
ASSURANCE COMPANY OF )
COLUMBUS d/b/a AFLAC, )
)
Defendant. )

JOINT MOTION FOR AGREED PROTECTIVE ORDER

COME NOW Plaintiff, Amy Davis (“Plaintiff”) and Defendant, American Family
Life Assurance Company of Columbus d/b/a AFLAC (“Defendant”), collectively
identified herein as (“Parties”), by and through counsel, and respectfully request this
Honorable Court enter the proposed Agreed Protective Order, attached hereto as Exhibit
l. In support of this Joint Motion, the Parties state as folloWs:

l. The Parties Would show the Court that in this action they have, or Will
pursuant to request, produce in discovery documents Which contain confidential and/or
proprietary information, as Well as potentially confidential personal information
Accordingly, a Protective Order is necessary to preserve the privacy of any such
information

2. This Joint Motion is submitted jointly, thereby signifying the Parties agree
on the relief requested herein, and the proposed Agreed Protective Order submitted

herewith.

{00392443}

Case 5:16-cv-00554-HE Document 15 Filed 08/24/16 Page 2 of 2

3. The Parties believe this Joint Motion and the proposed Agreed Protective

Order are made in compliance With the Court’s instructions and guidelines regarding the

Sanl€.

WHEREFORE, premises considered, the Parties respectfully request this Court

enter the proposed Agreed Protective Order submitted contemporaneously herewith

DATED this/§ f-;"ll‘day Of Augusr, 2016.

Respectfully submitted,

s/Amv Wellington

(signed by Filing Attorney With
Permission of Attorney)

Simone Gosnell Fulmer, OBA #17037
Jacob L. Rowe, OBA #21797
Harrison C. Lujan, OBA #30154
Amy Wellington, OBA #9467
Fulmer Group, PLLC

P.O. Box 2448

llOl N. Broadway Ave., Suite 102
Oklahoma City, OK 73101
Phone/Fax: (405) 510-0077
.~'~'l`\#lmcrtc¢`Ml_u_¢-lig110_l__l_n__l__:_i_x_\;§_<ll_u

i l'u\\-'cr'r:)`lr i`u l 11'1¢1'§1‘01.\'plaw .oom
h|11jamr'_r:'_i_.'l._l_`ulmc__i_';;roupln\v.cum
awellilmlonr_"d`l.l`ul1ncr.<-_'_roLipl;l\v.con1

Attorneysfor Plaintin

 

 

{00392443}

s/Jessica L. Johnson

Sean H. McKee, OBA #14277
sliicl<~.‘.cr'r_:?l)csls|lz-ll'p.com

Jessica L. Johnson, OBA #31851
iluhl\.sr_)l'\rc_!`l.beslrs|ulrp.€om

BEST & SHARP

Williams Center ToWer I

One West Third Street, Suite 900
Tulsa, OK 74103

Telephone: (918) 582-1234
Facsimile: (918) 585-9447
Attorneysfor Defendant

 

 

